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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 Stratford Insurance Company,           )
                                        )
              Plaintiff,                )
                                        )
       vs.                              )
                                        )
                                        )
 Shorewood Forest Utilities, Inc., Greg ) Case No.: 20-cv-
 Schafer, Carlotta Holmes,              )
 Individually and on Behalf of All      )
                                        )
 Others Similarly Situated,             )
                                        )
              Defendants.


         PLAINTIFF, STRATFORD INSURANCE COMPANY’S EXHIBIT
           INDEX TO IT’S COMPLAINT FOR DECLARATORY

       Exhibit A: Insurance Policy

       Exhibit B: Amended Class Action Complaint (Greg Schafer, and Carlotta
                  Holmes, Individually and on Behalf of All Others Similarly
                  Situated, v. Shorewood Forest Utilities, Inc., Greg Colton, Dan
                  Clark, Ken Buczek and Terry Atherton; Cause No. 64D02-
                  1705-CT-4698)

       Exhibit C: Rex Properties, Inc. Counterclaim (Rex Properties, LLC. v.
                  Shorewood Forest Utilities, Inc., 64D02-180-PL-10200)

       Exhibit D: Stipulation for Entry of Judgment by Consent Against
                  Defendant, and the Assignment and Covenant not to Execute

       Exhibit E:   Consent Judgment;

       Exhibit F:   Motion for Supplemental Proceedings

       Exhibit G: Amended Motion for Supplemental Proceedings
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                                   Respectfully Submitted,

                                   KOPKA PINKUS DOLIN PC


                                   By:      /s/ Sheri Bradtke McNeil
                                          Sheri Bradtke McNeil (#19280-45)
                                          Attorney for Stratford Insurance
                                          Company
  KOPKA PINKUS DOLIN PC
  9801 Connecticut Drive
  Crown Point, IN 46307
  Tel: (219) 794-1888
  Fax: (219) 794-1892
  Email: SBMcNeil@kopkalaw.com




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